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                Section: Mobilization/Emergency Incidents         Procedure No:   213-XX

                               RESPONSE TO FIRST AMENDMENT ACTIVITIES
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PURPOSE           To establish the duties and responsibilities of members of the service assigned to
                  First Amendment activities.

SCOPE             Under the First Amendment of the United States Constitution, all people are
                  afforded the right to free speech, peaceably assemble, and to petition the
                  Government for redress of grievances. Members of the service will be deployed
                  to demonstrations where it is clear that nonviolent participants are gathered to
                  lawfully engage in the aforementioned activities. Members of the service must
                  take care not to intrude upon the rights of expression or association of attendees
                  while remaining neutral and maintaining the peace.

DEFINITIONS       FIRST AMENDMENT ACTIVITY: Where non-violent participants are lawfully
                  assembled to exercise freedom of speech and to petition the government for a
                  redress of grievances.

                  DE-ESCALATION: Taking action in order to stabilize a situation and reduce the
                  immediacy of the threat so that more time, options, and/or resources become
                  available (e.g., tactical communication, requesting a supervisor, additional
                  members of the service and/or resources such as Emergency Service Unit or
                  Hostage Negotiation Team, etc.). The goal is to gain the voluntary compliance of
                  the subject, when appropriate and consistent with personal safety, and to reduce
                  or eliminate the necessity to use force.

                  INCIDENT COMMANDER: The highest ranking uniformed police supervisor
                  responsible for the command, control and coordination of all police operations at
                  a First Amendment activity. The precinct commanding officer or executive
                  officer will ordinarily be designated as the incident commander. If the First
                  Amendment activity occurs or is scheduled to occur in two or more commands
                  within the same patrol Borough, the patrol Borough commander or designee will
                  be designated as incident commander, and in cases where the activity affects or is
                  scheduled to affect more than one patrol Borough, the Chief of Patrol or designee
                  will be designated as incident commander.

                  NONVIOLENT PARTICIPANT: An individual who participates in a First
                  Amendment activity without the use of violent behavior.

                  PROTEST LIASON: A uniformed member of the service assigned to the
                  precinct’s Community Affairs Unit or the Community Affairs Bureau and
                  assigned to liaise with leaders and participants of a First Amendment activity.
                  Command level Community Affair personnel will liaise with participants until
                  the arrival of Community Affairs Bureau personnel.



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DEFINITIONS         VIOLENT BEHAVIOR: Includes, but is not limited to, the use of physical force,
(continued)         or tangible objects to hurt persons, damage property, cause fire, cause public
                    unrest, or prevent law enforcement from maintaining the peace.

PROCEDURE           When directed to respond to the scene of a First Amendment activity:

                    UPON BECOMING AWARE OF A SCHEDULED FIRST AMENDMENT
                    ACTIVITY:

UNIFORMED           1.     Notify the Citywide Event Planning and Coordination Section.
MEMBER OF           2.     Notify precinct commanding officer.
THE SERVICE

COMMANDING 3.              Direct a precinct level member of the service assigned to a community
OFFICER                    affairs role to attempt to contact the activity’s organizers and report back
                           any pertinent information, if not previously conducted.
                           a.      Ensure pertinent information is relayed to the Event Planning and
                                   Coordination Section.

CITYWIDE            4.     Determine what resources will be necessary for scheduled activity based
EVENT                      on type, location, anticipated participants, and other relevant factors.
PLANNING                   a.     Liaise with commands and units as necessary to ensure
AND                               appropriate staffing for scheduled activity.
COORDINATION               b.     Liaise with Equal Employment Opportunity Division (EEOD)
SECTION                           prior to event in order to ensure compliance with Americans with
                                  Disabilities Act (ADA).
                    5.     Notify and confer with Borough Command and Bureau concerned,
                           Community Affairs Bureau, Legal Bureau, Strategic Response Group
                           (SRG) and Intelligence Bureau.

MEMBERS OF          6.     Notify District Attorney’s Office, if Mass Arrest Processing Center
THE SERVICE                (MAPC) is activated.
ASSIGNED TO                a.     Legal Bureau will confer with the concerned District Attorney’s
CRIMINAL                          Office when MAPC is not activated.
JUSTICE
BUREAU

COMMUNITY           7.     Report to location and provide resources as requested by the Citywide
AFFAIRS                    Event Planning and Coordination Section, Incident Commander, or other
BUREAU/                    competent authority.
PCT                 8.     Assign a member of the service as a protest liaison or members of the
COMMUNITY                  service as necessary.
AFFAIRS
PERSONNEL


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PROTEST             9.      Wear uniform that is uniquely assigned to the Community Affairs
LIASION                     Bureau, or attire deemed appropriate by Borough Command.
                    10.     Make attempts to contact and establish a rapport with leaders of First
                            Amendment activity before, during, and after activity, if identifiable.
                            a.    Notify Citywide Event Planning and Coordination Section of each
                                  contact or attempted contact with leaders of activity, and make a
                                  Digital Activity Log entry of each contact or attempt.

NOTE                The purpose of establishing a rapport with First Amendment group leaders is to foster
                    cooperation in supporting the group’s activities, to attempt to have group leaders
                    intervene before activities become unlawful, and to garner support when police action
                    is necessary if the actions of participants’ become unlawful.

INCIDENT            11.     Determine if additional personnel and resources are needed.
COMMANDER                   a.     Liaise with the Citywide Event Planning and Coordination
                                   Section in determining appropriate staffing and resources.
                    12.     Respond to location of activity ahead of scheduled time and assume
                            command of all police operations.
                    13.     Consider all available information and prepare plan of action after
                            consulting with the Citywide Event Planning and Coordination Section,
                            Community Affairs Bureau, Legal Bureau, and Borough Commander or
                            designee.
                            a.     Develop a barrier configuration plan, if necessary, that ensures:
                                   1)     Orderly movement by persons attending the event, as well
                                          as those attempting to pass by or leave the event, and
                                   2)     Safety lanes and frozen areas to provide access for police
                                          personnel.
NOTE                The plan of action should account for any possibility of counter-demonstration activities and
                    their locations; including a contingency plan for unforeseen events (i.e., larger crowds, change
                    of route, etc.). Barrier configuration for demonstrations should not unreasonably restrict
                    access to, and participation in, the event. For example, attendees should be permitted to leave
                    the event area at any time. In addition, if crowd conditions and other circumstances permit,
                    participants should be permitted to leave and return to the same area. Sufficient openings in
                    the barricades should be maintained for the purpose of permitting attendees to leave
                    expeditiously and return to the event.
                    14.     Ensure uniformed supervisors account for responding personnel by
                            utilizing DETAIL ROSTER/ASSIGNMENT SHEETS (PD406-141).
                    15.     Instruct responding members of the service regarding First Amendment
                            activities.
                            a.       Advise members of the service of the duty to balance the
                                     participants’ rights to free expression with the need to maintain
                                     public safety for both participants and non-participants alike.
                    16.     Stage personnel at an appropriate distance away from the First
                            Amendment activity in consultation with Community Affairs Bureau/
                            Precinct Community Affairs Personnel, protest liaison, and the
                            developing needs of the activity.
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NOTE                Personnel should be staged so that members of the service do not unnecessarily interfere
                    with lawful First Amendment activities. If requested and present, uniformed members
                    donning special equipment and uniforms should be staged off scene from the First
                    Amendment activity, but positioned for any necessary rapid response consistent with
                    safety and logistical considerations.

UNIFORMED           17.    Comply with P.G. 213-05, “Duties at an Unusual Disorder,” as
MEMBERS                    necessary, if participants at First Amendment activity display violent
ASSIGNED TO                behavior or engage in unlawful activity.
EVENT                      a.      Update Citywide Event Planning and Coordination Section in real
                           time as to any requests for specialty units, including the reason for
                           requesting such support.
                    18.    Provide patrol borough and Operations Unit with regular updates
                           regarding the progress of the First Amendment activity, as well as unusual
                           developments, or the need for additional resources.
                    19.    Respond to location of scheduled First Amendment activity as directed by
                           competent authority.
                    20.    Follow instructions of Incident Commander.
                    21.    Ensure participants’ First Amendment rights to free expression are
                           balanced with the need to maintain public safety.
                    22.    Utilize de-escalation techniques whenever encountering violent subjects.
                    23.    Prepare, at direction of Borough Commander/ Designee, FIRST
                           AMENDMENT             ACTIVITY/CITYWIDE             EVENT        REPORT
                           (PDXXX-XXX) at first opportunity of scheduled First Amendment
                           activity.
                           a.      Explain reasons for deployment of specialty units (e.g., Disorder
                                   Control Unit, ESU, Mounted Unit, SRG, TARU, etc.).
                           b.      Explain usage of any special equipment including an Acoustic
                                   Hailing Device.

                    UPON BECOMING AWARE OF A SPONTANEOUS FIRST AMENDMENT
                    ACTIVITY:

UNIFORMED           24.     Notify Patrol Supervisor.
MEMBER OF           25.     Respond to location of First Amendment activity and assume role of
THE SERVICE                 Incident Commander until relieved by ranking uniformed member of the
                            service.
                    26.     Notify Communications Section and request command resources to
                            respond to location as necessary.
                            a.      Stage responding command resources an appropriate distance
                                    away from spontaneous First Amendment activity pending arrival
                                    of Incident Commander, unless circumstances necessitate an
                                    immediate police response.

NOTE                If available, command personnel assigned in a community affairs role will be requested
                    to respond to spontaneous First Amendment activity.

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PATROL              27.    Notify desk officer of available information, including:
SUPERVISOR                 a.     Location of activity,
                           b.     Activity type,
                           c.     Purpose of activity,
                           d.     Size and demeanor of group,
                           e.     Planned routes, and
                           f.     Other pertinent information.

DESK OFFICER 28.           Notify and relay information provided by the patrol supervisor to:
                           a.     Commanding Officer.
                           b.     Operations Unit,
                           c.     Community Affairs Bureau,
                           d.     Intelligence Bureau, and
                           e.     Overhead command.
INCIDENT            29.    Respond to location and relieve patrol supervisor by taking command of
COMMANDER                  all police operations.
                    30.    Follow steps “14” through “22.”
UNIFORMED           31.    Report to location of First Amendment activity as directed by Operations
MEBER OF                   Unit and determine what additional resources will be necessary for
THE SERVICE                activity based on type, location, number of participants, and other
AT EVENT                   relevant factors.
                           a.      Liaise with Incident Commander, commands, and units as
                                   necessary to ensure appropriate staffing for spontaneous activity.
                    32.    Notify Community Affairs Bureau.
                    33.    Provide guidance to members of the service responding to scheduled
                           activity.
                           a.      Recommend to Incident Commander proper staging areas and
                                   posts for responding members of the service that are an
                                   appropriate distance from the activity.
                    34.    Remain apprised of changing conditions and regularly update Operations
                           Unit and Incident Commander.

COMMUNITY           35.    Report to location and provide resources as requested by the Operations
AFFAIRS                    Unit or other competent authority.
BUREAU
INCIDENT            36.    Assign a member of the service as a protest liaison or members of the
COMMANDER/                 service as necessary.
DESIGNEE
PROTEST             37.    Make attempts to contact and establish a rapport with leaders of First
LIAISON                    Amendment activity before, during, and after activity, if identifiable.
                           a.    Notify Incident Commander of each contact or attempted contact
                                 with leaders of activity and make a Digital Activity Log entry of
                                 each contact or attempt.

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NOTE                Command personnel assigned to a Community Affairs role will work in conjunction with
                    the Community Affairs Bureau.

UNIFORMED           38.     Respond to location of spontaneous First Amendment activity as directed
MEMBERS                     by competent authority.
ASSIGNED TO         39.     Follow instructions of Incident Commander.
EVENT               40.     Ensure participant’s First Amendment rights to free expression are
                            balanced with the need to maintain public safety.
                    41.     Utilize de-escalation techniques whenever encountering violent subjects.

BOROUGH             42.     Prepare FIRST AMENDMENT ACTIVITY/CITYWIDE EVENT
COMMANDER/                  REPORT upon conclusion of spontaneous First Amendment activity.
INCIDENT                    a.     Explain reasons for deployment of specialty units (e.g., Disorder
COMMANDER/                         Control Unit, ESU, Mounted Unit, SRG, TARU, etc.), if
DESIGNEE                           deployed.
                            b.     Explain usage of any special equipment including Acoustic
                                   Hailing Device, if used.

ADDITIONAL          Where appropriate and consistent with personal safety, de-escalation techniques may reduce
DATA                or eliminate the need to use force and increase the likelihood of gaining a subject’s
                    voluntary compliance. In all cases, the primary duty of all members of the service is to
                    protect human life. Where tensions should rise during a First Amendment activity, members
                    of the service will prioritize de-escalation whenever possible.

                    Responding members of the service assigned to the Community Affairs Bureau, or to a
                    community affairs role at their command, will not be assigned to patrol or enforcement
                    functions except in exceptional circumstances during a First Amendment activity.

                    When notified that a First Amendment activity is to occur, the Incident Commander will
                    cooperate with persons in charge to the extent possible, balancing their right to free
                    expression with the need to maintain public safety. Citywide Events
                    Planning/Coordination Section or Operations Unit will notify Legal Bureau as soon as
                    possible to assist in planning and to arrange for response of a Department attorney, if
                    needed.

                    The Legal Observer Program is a comprehensive system of legal support coordinated by
                    the National Lawyers Guild (NLG) and the New York Civil Liberties Union (NYCLU).
                    Recognizing the importance of their work, the Department permits properly identified
                    legal observers free access through police lines at the scene of any First Amendment
                    activity. Legal observers generally wear bright green hats (NLG) or blue hats and blue
                    vests (NYCLU). All members of the service will extend every courtesy and cooperation to
                    observers. Observers shall be permitted to remain in any area, or observe any police
                    activity, subject only to restrictions necessitated by personal safety factors, as determined
                    by the Incident Commander.




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ADDITIONAL          When the Incident Commander is assigned to a group starting in one Borough and
DATA                traveling over a bridge or walking into a contiguous Borough, the transition of the
(continued)         march/protest between Incident Commanders must be a direct transfer and include a full
                    debrief on the condition experienced, including but not limited to demeanor of the group,
                    damage to property, and any other attribute that would suggest unlawful activity. If there
                    is no relieving Incident Commander, the initial commander will remain with the group and
                    notify the Operations Unit. The Operations Unit will facilitate identifying a relieving
                    Incident Commander, if available. Should there be a need to relieve personnel resources
                    following a march across contiguous Boroughs, the Operations Unit will facilitate
                    identifying relieving personnel. If there is no personnel available, the current personnel
                    assigned will have to stay with the march/protest.

                                                     TEAM ASSIGNMENTS

                    ENFORCEMENT DUTY - Required to implement appropriate arrest tactics or summons
                    activity under the supervision of sergeants and lieutenants as enforcement teams, or
                    during preplanned or spontaneous arrest situations.

                    PROTECTING VULNERABLE, SENSITIVE OR CRITICAL LOCATIONS - Responsible
                    for correctly identifying locations and providing security for designated areas.

                    ESCORT DUTY – Responsible for Identifying and providing a system of escorts for
                    other service providers, protected persons or sensitive groups.

                    TRAFFIC DUTY – Responsible for identifying borders of the event and assigning
                    members to appropriate roadways to:
                    a.    Detour traffic around the area,
                    b.    Facilitate use of alternate routes, and
                    c.    Prevent injury to pedestrians by creating a system of controlled crossings.

RELATED             Duties at an Unusual Disorder (P.G. 213-05)
PROCEDURES          Policing Special Events/Crowd Control (P.G. 213-11)
                    Duties and Responsibilities at Special Events (P.G. 213-15)

FORMS AND           FIRST AMENDMENT ACTIVITY/CITYWIDE EVENT REPORT (PDXXX-XXX)
REPORTS             DETAIL ROSTER/ASSIGNMENT SHEET (PD406-141)




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